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                                                                FILED: February 6, 2018

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                         No. 18-1150 (L)
                                    (1:17-cv-01113-CCE-JEP)
                                      ___________________

         NORTH CAROLINA DEMOCRATIC PARTY; CUMBERLAND COUNTY
         DEMOCRATIC PARTY; DURHAM COUNTY DEMOCRATIC PARTY;
         FORSYTH COUNTY DEMOCRATIC PARTY; GUILFORD COUNTY
         DEMOCRATIC PARTY; MECKLENBURG COUNTY DEMOCRATIC
         PARTY; ORANGE COUNTY DEMOCRATIC PARTY; WAKE COUNTY
         DEMOCRATIC PARTY

                     Plaintiffs - Appellees

         v.

         PHILLIP E. BERGER, in his official capacity as President Pro Tempore of the
         North Carolina Senate; TIMOTHY K. MOORE, in his official capacity as Speaker
         of the North Carolina House of Representatives

                     Defendants - Appellants

         and

         THE STATE OF NORTH CAROLINA; THE NORTH CAROLINA
         BIPARTISAN STATE BOARD OF ELECTIONS AND ETHICS
         ENFORCEMENT; KIMBERLY STRACH, in her official capacity as Excutive
         Director of the North Carolina Bipartisan State Board of Elections and Ethics
         Enforcement

                     Defendants




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                                      ___________________

                                           No. 18-1151
                                    (1:17-cv-01113-CCE-JEP)
                                      ___________________


         NORTH CAROLINA DEMOCRATIC PARTY; CUMBERLAND COUNTY
         DEMOCRATIC PARTY; DURHAM COUNTY DEMOCRATIC PARTY;
         FORSYTH COUNTY DEMOCRATIC PARTY; GUILFORD COUNTY
         DEMOCRATIC PARTY; MECKLENBURG COUNTY DEMOCRATIC
         PARTY; ORANGE COUNTY DEMOCRATIC PARTY; WAKE COUNTY
         DEMOCRATIC PARTY

                     Plaintiffs - Appellees

         v.

         THE STATE OF NORTH CAROLINA; THE NORTH CAROLINA
         BIPARTISAN STATE BOARD OF ELECTIONS AND ETHICS
         ENFORCEMENT; KIMBERLY STRACH, in her official capacity as Excutive
         Director of the North Carolina Bipartisan State Board of Elections and Ethics
         Enforcement

                     Defendants - Appellants

         and

         PHILLIP E. BERGER, in his official capacity as President Pro Tempore of the
         North Carolina Senate; TIMOTHY K. MOORE, in his official capacity as Speaker
         of the North Carolina House of Representatives

                     Defendants




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                                      ___________________

                                           ORDER
                                      ___________________

              The court consolidates Case No. 18-1150 (Lead) and Case No. 18-1151.

        Entry of appearance forms and disclosure statements filed by counsel and parties to

        the lead case are deemed filed in the secondary case.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




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